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Juan Gonzales

From:                             Donna McRae <dmcrae@bop.gov>
Sent:                             Tuesday, October 20,2020 9:24 AM
To:                               NMDmI*Judge Browning's Chambers nmd.uscourts.gov;joe@romeroandwinder.com;
                                  Alexander Uballez; Paul Mysliwiec
Subject:                          Arrival Letten Nissen, Michael 02508-151
Attachments:                      Nissen, Michael arr 10-16-20.pdf




Please see the attached letter regarding Mr. Nissen.


Regards,

Donna McRae
Health Service Assistant
Phone (919) 575-3900 x 5535
Fax (919) 575-4866


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                                                  U.S. Department of Justice
                                                  Federal Bureau of Prisons
                                                  Federal Coruectional Complex
                                                  Federal Medical Center
                                                  P. O. Box 1600
                                                  Butner, North Carolina 27509




                                                  October 16,2420



The Honorable James O. Browning
Pete V. Domenici U.S. Courthouse
333 Lomas Blvd NW, Suite 660
Albuquerque, New Mexico 87102

RE:   NISSEN, Michael James
Register Number: 02508-l5l
Docket Number: CR 19-0077J

Dear Judge Browning:

       The above-referenced individual was admitted to the Mental Health Unit of FMC-Butner
on October 9,2020, pursuant to the provisions of Title 18, United States Code, Section 4241(d).

        Currently, the assigned Treatment Team members are conducting interviews and
psychological testing, which are necessary to complete his evaluation. We have calculated the
evaluation period to end February 5,2021. My staff will attempt to complete the evaluation as
soon as possible and have a final report to the Court within 14 working days of the end date.

       I thank you in advance for your assistance in this matter. If you are in need of additional
information, please contact Ms. Donna McRae, Health Services Assistant, at extension 5536.

                                                  Respectfully,




                                                               p, Complex Warden

       Alexander Mamoru Max Uballez/ Paul Mysliwiec, Assistant United States Attorney
       Joe M. Romero, Jr./Defense Attomey




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